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lN THE UNITED STATES DISTRICT COURT g
FOR THE EASTERN DISTRICT OF VIRGINIA/ALEXANDR

  
    
 

 

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lexander Otls Matthews ALEXANDNA‘wRenwA

plaintiff

v. Case No. ll |HC\/ZUQ> w W)/

Estrategia Investimentos,S.A. et al
defendants

  
 

 

lComplaint

1. Alexander Otis Matthews,plaintiff, hereby swears to his statements herein under
penalty of perjury, pursuant to 28 USC 1746.

2. The plaintiff brings this suit in his personal capacity as President and CEO of
American Investments Real Estate Corporation, a corporation that was in good standing
during the time period of the events this complaint is based on.

3. The events in this suit occurred between 6/1/2010 and 11/15/2010 in the state of
Virginia.

4. At the time of this suit defendant Bruce H. Haglund was a licensed and practicing
attorney in the state of California with the firm Wilson, Haglund, and Paulsen.

5. Defendant Wilson,Haglund, and Paulsen is a law firm located in Irvine, California.

6. Metropolitan Bancorp Ltd is a New Zealand based financial services firm with a
US branch in Lawton,OK, and San Jose, CA.

7. Estrategia Investimentos is a Brazilian bank with a US branch located in Miami,FL.

Jurisdiction
8. This court has jurisdiction to hear this complaint pursuant to 28 USC 1332.

FACTS

9. American Investments Real Estate Corporation was a corporation in good standing
in Virginia that was in the business of utilizing the services of licensed and
registered securities brokers and firms to option and resell investment grade bonds.
10. AIREC worked with a securities house based in Zurich called Consirus AG who was
in the business of brokering the sale of discounted bank bonds that were listed on
various European stock exchanges.
11. Fbr a call option fee, Consirus AG would reserve the bond for a customer, who
would then have a specified period to either buy the bond outright or resell the
bond to a third party buyer.

12. These bonds were all verified through the European Financial network known as

Clearstream or through EuroClear. The bonds were also listed and verified through
Bloomberg,LLP, the bonds being verified by their ISIN and CUSIP numbers.

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13. In the summer of 2010 AIREC paid a monthly call option fee to Consirus AG for

a Bank of America bond, ISIN No. U5638585AN94. AIREC's call option allowed it purchase
Bank of America bond at a price of US 88M per US 100M, with the bond at that time
with a Bloomberg value at US 114M to US 116M.

14. AIREC sought to sell the bond to a hedge fund or insurance company who would
be attracted to the bond's price and 7.5% coupon.

15. AIREC sought to find a partner with extensive financial and banking contacts to
assist it in finding a buyer for the bond,and was able to enter into a partnership
agreement with Green Energy Capital Corporation, an Alabama company run by a Mr. Terry
Hester and located at 6767 Taylor Circle, Montgomery, Alabama, 36117.

16. AIREC and Green Energy Capital Corp (Green Energy) memorialized their partnership,
with AIREC's equity being the call option agreement and its monthly payment, and
Green Energy's equity being the money necessary to facillitate the purchase and resell
of the bond itself.

17. Bank bonds are sent Via SWIFT, the international messaging and delivery system
susbcribed to by major banks around the world. Bank bonds do not require actual payment
up front to be delivered, but rather are delivered pursuant to bank to bank SWIFT
guaranties, which enables the receiving bank to receive and Edly'verify the bond

before the payment is released. SWIFT is an honor system between banks which banks

take serious care not to dishonor, because its very difficult to transact internationally
without utilizing SWIFT mechanisms. While there are other procedures to deliver financial
instruments, SWIFT is the preferred method in Europe and Asia due to its reliability

and safety.

18. Terry Hester, Green Energy's president, was in fact able to find several buyers

for the Bank of America bond, and set up accounts for Green Energy and AIREC at Merrill
Lynch to receive the bond, whereupon Merrill lynch's fixed income securities desk
agreed to broker the sale after properly verifying the bond and authenticating the
bond within 3 international banking days of its receipt to Merrill Lynch.

19. Tb provide proper bank to bank guarantee for Consirus AG to deliver the bond to
Merrill Lynch, AIREC and Green Energy utilized brazilian bank Estrategia lnvestimentos
(Estrategia), who was a SWIFT member, to send a SWIFT payment guarantee on behalf

of AIREC, to Consirus' bank Magyarorszagi Volksbank ZRT (Volksbank), a Hungarian based
European commercial bank.

20- lb conduct the transaction professionally and under a lawyer's guidance AIREC

and Energy hired defendant attorney Bruce H. Haglund and the aw firm of Wilson,
Haglund, and Paulsen to conduct the transaction and to act as the escrow agent for

the US 150,000.00 fee being charged by Estrategia to send the SWIFT guarantee on behalf
of AIREC.

21. Mr. AJ Berrones and Goldie Dickey of Metropolitan Bancorp Ltd act as Estrategia's kral
representative in the Escrow Agreement with Green Capital that is put together by

escrow agent Bruce Haglund and his law firm Wilson,Haglund, and Paulsen.£cthg
Estrategia,AJ Berrones represents that a SWIFT MT 199 payment guarantee will be sent

on behalf of AIREC to cause the delivery of Bank of America bond with ISIN No.
US638585AN94 to Volksbank before October 22,2010. If the SWIFT MT 199 is not delivered

by 0ctober 22, 2010, the contract says that the US 150 k shall be returned to Green
Energy.

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22. The partnership agreement between AIREC and Green Energy called for the parties
to split 50/50 the proceeds made when Merrill Lynch sold the bond to one of its parties
or to one of the parties Green Energy had found that wanted to purchase the bond.

23. Bonds are sold in tranches, and this particular Bank of America bond was a US
350 million dollar instrument. The first tranche of the bond to be delivered by
Consirus AG under its call option with AIREC was a US 100 million dollar tranche.
With a US 88 million dollar call option price, and an agreement to sell that tranch
at its then Bloomberg ILP trading price of US 114 to US 116 million dollars, AIREC
and Green Energy stood to make a minimum profit of US 13 million dollars each,not
t§king into consideration its fees and commissions to Merrill Lynch for conducting
t e sale.

24. The escrow agreement with Bruce Haglund and AJ Berrones on behalf of Estrategia
is shown here as App§ndix A, which includes a copy of the SWIFT MT 199 contract/
agreement whereby Estrategia agreed to send that SWIFT MT 199 as a bank payment
guarantee to Volksbank of behalf of AIREC before October 22,2010.

25. On 10/21/2010, AJ Berrones sends AIREC and Green Energy an email confirmation

shown as App§ndix B, which is anemdl transmittal confirmation confirming the transaction
has been sent on behalf of AIREC. What Estrategia and AJ Berrones omitted telling AIREC
and Green Energy was that while Estrategia sent the initiating SWIFT wire, its RMA

or correspondent bank never forwarded the SWIFT to its final destination at Volksbank.,
Estrategia and Metropolitan Bancorp Ltd thus breached the contract that they had been
paid US 150,000.00 to effect, and thecxrfinnmjon information which Bruce Haglund and
his law firm were supposed to confirm before releasing said 150k as the fee to
Estrategia and Metropolitan Bancorp was never properly and definitively confirmed.

26. Banks prefer to deal with banks that they have previous relationships with, and
when international wires are sent from one bank to`another one it doesn t have a
prior relationship with, the bank will use a RMA or corresponding back it already
knows to deliver the wire to its final destination.

27. In this case Estrategia had no prior relationship with Volksbank, but it did
have a prior relationship with Centrum Bank of Zurich. Centrum Bank had a prior
relationship with Volksbank,and agreed to be the relay bank for the wire to Volksbank
from Estrategia.

28. Under the terms of its SWIFT MT 199 contract with AIREC,and its contract with
Green Energy, Estrategia was responsible for delivering the SWIFT MT 199 to Volksbank,
not for delivering it only half of the way to Centrum Bank.

29. Under the terms of its escrow agreement with Green Energy, both Estrategia and
Bruce Haglund broached that contract when they released the escrowed funds and paid
themselves before fully confirming that the SWIFT MT 199 had been delivered to
Volksbank.

30. Estrategia and Bruce Haglund vehimently insisted and represented to AIREC and
to Green Energy that Volksbank had recieved the SWIFT, when AIREC and Green Energy
were clearly told by Consirus AG that the SWIFT never hit Volksbank.

31. After almost 30 days of accusations back and forth, AIREC finally convinced
Estrategia to contact its SWIFT representative and request that he or she trace the
SWIFT to find its location. Those discussions to trace the SWIFT are shown as Appgndix C.

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32. App§ndix D is a SWIFT transmittal dated 11/15/2010, and shows that AIREC had been
correct in telling Estrategia that the wire never reached Volksbank, because App§ndix D
shows the wire to Volksbank only being relayed by Centrum Bank on 11/15/2010,more

than 3 weeks after Estrategia confirmed that the SWIFT had reached Volskbank. By

this time, due to the delays and the false representations by Estrategia and
Metropolitan Bancorp Ltd, Consirus had cancelled the transaction on AIREC for

non - performance and delays. AIREC thus lost the money it had been paying as a

call option fee to reserve the bond for the prior six months,as well as its portion

of the profits to be made on the sale,which was US 13 million.

33. Attorney and Escrow Agent Bruce Haglund was grossly negligent and failed in his
duties under the Escrow Agreement itself when he falsely confirmed receipt of the
SWIFT MT 199 by Volksbank on AIREC's behalf, and when he further released funds to
pay for the transaction based on that false confirmation. In an unrelated transaction,
the SEC permanently barred Mr. Haglund from ever serving as a director or officer

of a public company, disgorged Mr. Haglund of $6,744,083.49, and issued an injunction
against Mr. Haglund for his multiple, concurrent,and egregious violation of US
securities laws where he similarly served as an escrow agent for a Prime Bank Investment
Scheme in the state of California. see Securities and Exchange Commission v. Frances
E. Wildezet al, US Dist LEXIS 183252 (9th Cir 2012). Defendant Haglund broke the
Escrow Agreement and caused the transaction to be cancelled on AIREC when he

falsely represented that Volksbank was in receipt of the SWIFT MT 199 sent by
Estrategia on behalf of AIREC.

34. Estrategia and Metropolitan Bancorp broke their a reement with AIREC contained
in the language of the SWIFT MT 199 message sent by t em on 10/21/2010. AIREC

and defendants Estrategia and Metropolitan Bancorp Ltd agreed to the language after
three weeks of revision and amendments,the exact wording of such a SWIFT critical to
this ‘ deal and representing clear and definite obligations by all the parties
contained in the SWIFT message, which forms a contract thereunder for all parties .
Estrategia and Metropolitan Bancorp only agreed to send the SWIFI MT 199 payment
guarantee of behalf of AIREC after a vigorous period of due diligence using their
status as a bank to confirm the value of the bond and AIREC's efforts in o tioning
it at its discounted price. They had further security in knowing that t e bond
was being delivered to Merrill Lynch, whose fixed income desk has the status and
capability to handle the sale of such a bond. They then had miminal risk,and had no
basis upon which to seize their payments without fully verifying that they had
delivered on their obligations under the SWIFT agreement and the escrow agreement.

35. Wilson, Haglund, and Paulsen failed as escrow agent under the same basis as
Bruce Haglund where they released the escrow money as payment without fully verifying
that the SWIFT MT 199 was received by Volksbank on behalf of AIREC.

Theories of Recovery

36. The plaintiff hereby charges all four named defendants with breach of contract,
unjust enrichment, unfair and deceptive trade practices, promissory estoppel, and
breach of the implied covenant of good faith and fair dealing. Defendant Bruce Haglund
is also charged with professional malpractice.

. Relief
For relief the plaintiff requests compensatory damages from all four named
defendants jointly and severally in the amount of US 13 million dollars.

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Dated:2/4/14

 

 

Alex§hder Otis Matthews
24394-016

Federal Prison Camp

PO BOX 9000

Berlin,NH 03570

 

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PARTIFS
Plaintiff(s)

1. Alexander Otis Matthews -24394-016, Berlin Federal Prison Camp, PO BOX 9000,
Berlin , NH 03570

Defendant(s)

1. Estrategia lnvestimentos, S.A. - 2828 Coral Way, Suite 309, Miami,Florida, 33145
2. bruce H. Haglund - 9110 Irvine Center Drive,lrvine CA 92618

3. Wilson,Haglund,`& Paulsen - 9110 Irvine Center Drive, Irvine CA 92618

4. Metropolitan Bancorp, Ltd - 502 NW Sheridan Road,Suite 6A, Lawton,Oklahoma,73505

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Appendix A
FAX COVER SHEET
TO alex
COMPANY
FAXNUMBER 1703645231'7 _
FROM Alexa.nder MatthE'-ws
DATE 2011-05-21 15:5_6:49 GMI‘
RE
COVER LIESSAGE

 

www.efax.com

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ESCROW AGREEMENT

THIS ESCROW AGREEMBNT (this ”Bscrow Agreement") is entered into ns of
the 18th day of Octob=cr, 2010 by and among GREEN ENERG¥ CAPl'l`AL CORP.,‘ 6767
'l`aylor Circle. Monigomery, Alabama 36117 ("GE") and A.]. BERRONES AND
ASSOCIATES, LLC, 1411 Davenport Drive, Merced, California 95340 (”AIB”), and
BRUCE l~l. HAGLUND, ESQ., Wilson, Haglund & 'Paulsen, 9110 Irvine Center Drive,
irvine California 92618 (the "Escrow Agent"), in connection with services (the
”Services") to be provided by the E.~j»crow Agent on behalf of GE and AlB.

'l'he terms and conditions of this Escmw Agreement are as follows;

1. Consideration. The parties hereto acknowledge the receipt and the
sufficiency of the consideration for entering into this Escrow Agreement

2, Letter Agreement GE and A]B arc parties to that certain letter agreement
dated Octobet 11, 2010, a copy of which is attached hereto as Exhibit ”A" and

incorporated herein by this reference (the "Letter Agreement").

3. Deposit into Escrow. GE arranged for the deposit of $150,000 '(the
"Escrowcd Funds") into the Wilson, Haglund &: Paulsen ‘l`z'ust Account B, identified as
;.A\ follows (the "Trust Account");

Bank Namc: Wells Fargo Bank, N.A.

Bank Address: 4850 Ba):ranca Parl<way, lrvine, California 92604
Arcount Name: Wilson, Haglund &' Paulsen Tru$t Acoount B
Account Nurnber: 199 234 2301

ABA Routing Number: 121 000 248

SWIF'I'Code: WFBIUSoS

The parties hereto agree that all or a portion of the Escrowed Funds may be transferred
to the Bruce H. Haglund Attorney Escrow Account, Metropolitan Bancorp limited
("MBL"), account #116 012 0515, c/o Bank of Amcrlca, 1311 N.W. Sheridan Road,
Lawton, Oklahoma 73505 ~(the "MB¥. Escrow Account"), an account maintained and
controlled solely by the Hscrow Agent for transactions involving A]B, prior to the
release of Escrowed Funds as contemplated by the provisions of Section 4 below. Any
Escrowecl Funcls transferred to the.Ml.B Escrow Account shall he included in the

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“' ‘ 'F'cle No. 590498

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definition ot F.scrowed bonds and shall be administered by the Escrow Agent in
accordance with the terms ot` this Bscrow Agreement as part of the Escrow Funcls.

4. Release of Escrowed Funds.

4.'1 Upon receipt by the Escr<wv Agent from an officer of MBL, who is
acknowlede by the parties to be a duly authorized agent and representative oE
Estrategia lnvestimentos S.A, ("l-"ST”), confirming the transmission by EST of a $wift
M`I`l99 message containing the verbiage set forth in Exhibit ”_B" (the ”Swift M’l`199") to
MAGYAKORSZAG| VOL]<SBANK ZR'T' (”MVB"), the Escrow Agcnt shall immediately
deliver via e-mail a copy ot the transmitted Swift MT199 toGE end AJB.

4.2 Before the Swift M'l` 199 is sent out a copy of MT 399 will be sent to
Gl~`. for approval by Gii and only after the approval of verbiage by GE in email or letter
will the Swift MT 199 be sent out. After transmitting the copy ot the approved Swilt
M'l` 199 that has been sent to GE and AJB, the Escrow Agent shall release $150,000 ot the
liscrowecl Funds in accordance with the instructions ot A]B. lt is understood by the
parties that Exhibit "A” includes a copy of the approved verbiage of a Swift MT199
message from iiS`I` to MVB refereed to as Exhibit ”R. "

=1.3 lt confirmation ot delivery as described in Section 4.1 above has not
been received by the parties by 2200 PM Pacitic Daylight Time on or before 0ctober 22,
2010 the Escrow Agent shall return the l”-unds so held in escrow to GE in accordance

with the instructions of GE.

5. Waiver of Po(~enl:ial C¢mflicf:n of Interest. `|'l'te parties acknowledge that
the Egcrow Holder has acted and will continue to act as legal counsel to AIB. ‘-l'he parties
agree to waive any potential conflict of interest that may exist as a result ot such
representation and acknowledge that they have consulted with independent counsel
with respect to such potential conflict of interest or have waived such right. in the event
of any dispute concerning this Escrow Agreement, the Esuow Holtler agrees that it will
not act as counsel to A]B in connection with the restitution of such dispute

6. Agreements, Representations, and Warranties of GE and A]B to the
Escrow Agent. in order to induce the Escrow Agent to act pursuant to the terms of this
Eecrow Agreement each of GE and A}B agrees, represents, warrants, and
acknowledges to the Escrow Agent than

6.1 ”l'he Escrow Agent will be entitled to rely on such notices or
certificates in original or facsimile whicl~\, in the reasonable opinion nl the F.':crnw
Agent, appear to have been signed by one or other signatories hereto without making
any further inquiry or inquiring into the sufficiency or correctness thereofl

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Fllc No. 590/198

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0.2 'l'he iiscrow Agcnt is acting as escrow agent only and upon making
the delivery of the Escrowcd l-`unds in accordance with the terms of this Escrow
Agreement the Pk;cmw Agunt shall have no further liability hereunder.

6.3 lt is agreed that the duties of the Escrow Agent are only as set forth
in this Escrow Agreement as specifically provided, and are purely administrative in
nature, and the Escrow Agent shall incur no liability whatsoever to'GE or AlB for any
action taken or omitted to be taken by the liscrow Agent, except for willful misconduct

or gross negligence

6.4 Each of the parties releases the liscrow Agent from any act
zu:r.'¢.'impliral'uedl nmil'h>¢‘l m' to he accomplished by the Esci‘ow Agen|: in good faith and in

the performance of his duties hereunder.

6.5 F.ar‘h nl the parties agrees to indemnify and hold harmless the

llsci'ow Agent from and against all costs, Claim$, demands, suits, judgments and
liabilities of any kind or nature including reasonable legal or attorneys fees incurred in
connection with performance by the Escrow Agent of his duties hereunder, except with
respect to action m omissions taken m' suilererl by reason of gross negligence or willful

misconduct on the part of the 'Escl‘ow Agent.

The terms and conditions of this Escruw Agreement are irrevocable
unless changed in writing and signed by GE, A]B, and theEscrow Agent.

6.7 '<_`.l£ acknowledges that the Esccow Agcnt has not given either GE
any legal advice of any kind or naturo.

6.8 ~GE acknowledges that it is not a”accreditecl investor" as that term
is defined in U.S. federal securities laws.

6.9 GE acknowledges that it has performed sufficient due diligence to
satisfy it that entering into the Letter Agreement and this Escrow Agreement is in its
best interests and that it does not expect or require that A]B or the Escrow Ag<mt
perform any services for G§E other than as specifically set forth in the Letter Agreement
and this Agreement

’7. The Escrow Agent’s Costs and f"ces. 'l`l‘ic Escrow Agent acknowledges
that no costs or fees shall be payable to the Escrow Agenr by GE in connection with this
Escrow Agreement; all costs or fees of the Escrow Agent shall be paid by A]B.

8. Notices. Any noticcs made between the parties hereto shall be made via
either e-mail or facsimile to the e~mail address or facsimile number of a party as set
forth bclow:

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Hl?’q c-.\~mail- h-zwylm.¢,terl @gmail.ccim
Gl£'s iacsirnile number: (.?»34 ) 213 - 0938
Gl~l's telephone number

AjB's e-mail address: ai@ajl)associates.<‘nm
AIB's t`acsimile number 800~578-31'51
A}B's telephone number: 2()9-988-2214

le Escrc)w Agcnt's e-mail: bhaglund@Whg-law.com
'fhe EsCrOW Agent‘s facsimile number; 949-266»8426
The Escmw Agcni"s telephone numl)cr: 714-801»3000

Any party may change its e-mail address or facsimile number for purposes ot' thi'.-‘.
section by giving the other party written notice GF tim new e-mail addres$ and/or
facsimile number in the manner set forth abav¢-_~.

9. Severabiliiy. lf any provision of this :Escrow Agreement shall be

determined to be in any violation oi, or contrary to any law, rule or regulation or is

/"'*\ held to be unenforceable or invalid by any U.S. court of competent jurisdiction or
arbi-trat<)r, as applicable, the validity and enforceability of the remaining provisions

shall not be affected thereby lt is agreed by all parties hereto, that in the event any part

of this Escrow Agreement is, in fact, held to be invalid or unenforceable, then the parties

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CE's o»mail: tenyhcster°l¢¢`i!gmail.cmn
Gl§'.~‘. facsimile number ( 334 l 213 ~ 0938
t'.`. E's telephone number

A]B's e-mail address: ai@aibassociatcs.corn
Ajli's facsimile number: 800-578-315'1
A]B's telephone numbers 209-988-2214

Tht- Escrow Agc>.nt’s e-mail: bhag|uncthg-law.com
'l`he Escrow Agent‘s facsimile number: 949~2666426
'l`h.t‘ l.”'..\st:ruw Ag¢-mt’s telephone nun\tmr: 714-301.3000

Any party may change its e-mail address or facsimile number for purposes ot' this
section by giving the other party written notice of tth now o-mall address and/or

tacslmilo number in tim manner $et forth abovo.

9. Severability. if any provision of this Escrow Agreement shall be
determined to be in amy violation of, o\‘ contrary to any law, rule or :r»:~.gnlationl or i.¢a
held to be unenforceable or invalid by any U.S. control competent jurisdiction or
arbitration as applicable, the validity and enforceability of the remaining provisions
shall not be affected thereby. lt is agreed by all parties hereto that in the event any part
of this Escrow Agreement is, in fact, held to be invalid or unenforcea ble, then the parties
hereto agree to amend this Escrow Agreement in such a manner as to fulfill the escrow
hold@r's requirement to reconstith the spirit and intent ot the invalid or unenforceable
pnwision(s) to make such provision valid and enfomeahle.

10. Amendments. This Escrow Agreement may be amended at any time
provided an_\_' such amendments or supplements have boon agreed to and executed in
writing by all parties hereto

11. Governing Law. “l`l\is Escrow Agreement shall be interpreted according to
the laws of thc State of California. Any disputes, controversies or claims concerning the
Service and/or the Performance by either party of the obligations under this Escrow
Agreement shall be resolved by binding arbitration pursuant lo the Cornmercial
Arbitration liulos of the Amz:rican Arbitration Association. 'l`he site of the arbitration
hearing will be lrvine, California, and the hearing will be conducted before a panel of
three neutral arbitrators appointed by the American Arbitration Association. Prior to
commencing the arbitration hearing, the parties shall attempt in good faith to resolve

any disputes.

12. Fom'imile Copies as Originals. A tully executed facsimile or electronic
copy of this Escrow Agreement and any documents referred to herein shall bc accepted

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and treated by the parties as an original document This l-'Sscrow Agreement may be
signed or executed in counterparts.

13. Entire Agreement This Escrow Agreement together with the related
agreements and obligations referred to herein and as created in accordance with the
terms hereof, contains the entire agreement between Cl':`, AjB, and the F.scrow Agent
and supersedes, or integrates intn, all prior verbal or written agreemenls,
representations and understandings of the parties hereto. lf any terms or conditions of
any previous verbal or written understanding or agreement are in conflict with any
terms or conditions of this Escrow Agreemen.t, all tarms, conditions and agreements as
set forth in this tiscrow Agreement shall survive, be primary and supersede any
previous agreements No terms or conditions, other than as contained in this Escrow
Agreement shall be of any legal force or effect and shall be null and void t`orever.

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IN WI'I‘NESS WHEREOF, the parties have executed this Escrow Agreement as
ofOctober 18, 2010

   

By: ///"'L /§<::. '“‘1-.`_'_". : 5
'K,:rry Hestér,l’resident `"`
l`hereunto Duly Auf:horized

AJ BERR NES A DASSOCIATES,LLC

 

/A..] Berro/nes, Manager,""`°`““--
/Therecmto Duly Authurized

 

BRUCE H. HAG LUND,ESQ.,
Escrow Agent

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IN WITNESS W'HEREOP, the parties have executed this Escrow Agreement as
Of October 18, 2010

GREEN ENERGY CAPI'I`AL CORP.

 

By:
`I`erry Hester, President
'I'herelmto Du.ly Authorized

A.]. BERRONES AND ASSOCIA.TES, LLC

 

A.]. Berrones, Manager,
'[Tlcreunto Duly Authorized

 

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File No. 590498

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EXHIBIT ”A"
I..ETTER AGREEMENT

Ful' and in Consider€ltion of the agreements rit' AJ Berront-r»: and Associates, LLC -{A_l B)
hereinafter set forth, Green Energy Capita] Corp. (GE) has caused the sum of

$T 5{},000.[}0 to be deposited in trust with Bruce H. Haglund, Esq., Wilson, Haglund &
Paulsen, 9110 irvine Center Brive, Irvine, CA 926`18 (Bcrow Attomey), to be held in
accordance with that cfcrtain Escrow Agreement of oven date, to which reference is here

ucm_it:.

The\ F§wift MT1$}'~) shall be for tim purpose of showing funds availability

A_]B agrees to deliver to GE and Escrow Attorncy authentication and confirmation of
issuance of a previously agreed upon SWIFT MTWQ message from Estrategia
lnvestimentos S.A. to MACSYARORSZAGI VOI_.KSBANK ZR'I`. (See Exhibit B ).Sucl'i
proof shall be in the form of bank confirmed copies ot` the said messa.ge, including ali
pertinent SWIFT authentication codes, verifying issuance per required verbiage as
contained in the attached .L"xhibit B, on pang 2 hereut, which is fullyl incorporated herein
by ratvr¢\ncr+_

l_lpori presentation of the swift transmission with authentication codes of the Swift
M'H%i as set forth al)ove, as E><hibit "B " GFv with tull corporate authority hereby

 
  

    

instructs Escrow Attorney to release to A}B the sum of 5150,000.00. 'l'he agreed sum
'tiall remain at all times prior m disbursement in thc escrow account of the Escrow
Attomc-zy and shall be released only in accordance with the terms of the Escrow
Agreement l-`m- this tram::iction.
Ackm)wlcdgecl, agreed and accepted this 18th day of Octol::er, 2(1]{}.

Green Energy Q§_p_ital,f.; -p_ v _

_ _ _j_;;_'_,{,___ .:____,__ _____ ______

_ . ____ ____.

Witness: ______ Wimt-’SS? .._,__.,.,_.”_._..___

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v

Please deliver the lnstrument to the fol}owing bank coordinates:

ABA: 026009593

SWIFT-BIC: BOFAUS$N

Bank Name: BANK OF AMERICA N.A.

Bank Address: 100 WEST 33“° sTREET, NEW Yom<, NY, u.s.A

AcCOur'lt NO. 6550113516

Account Name: MERRILL LYNCH

For Further'Credit To: GREEN ENERGV CAPITAL CORPORATION

Account number: 871-02495

BOND TD BE TITLED TO: GREEN ENERGY CAPITAL CORPORAT!QN

WE HEREBY CONFIRM ’I`HAT THE FUNDS ARE GOOD, CLEAN AND.CL=EARED FUNDS OF NON-
CR!MINAL ORIGIN AND FROM L&GAL SUuRCE

' Fi{e No. 1011 IOA]BADO

5/21,25§@3@ 1:14-@\/-00207'-L0-i\/lsl\l MSMQ_WEJHU@§M§/§géée Page '2_0 Of 24 PaQ€lD# 20
Fwd: P|ease relay this emai| to GREEN ENERGY CAPITAL

A _' B
-- TF.RRY Hes'rm (tarryhasten@gmai€§oe§ lx
.;.~ Mon 11/08/10 10:58 PM ` _
" meander Marmews (aleandermataiaws'a?@bomiaii.aqm)

----~---- Folwardeci message ----------

From: aj@ibassg_g§' t_e§_,ggg <aj@ajbassociates.com>

Date: Mon, Nov 8, 2010 at 1:15 PM

Subject: chl: Please relay mrs small to GREEN ENERGY CAPITAL

To: Hester Terry <ter[ghesterl@gmai|.oom>

Sent from my iPhone 4

Begin forwarded message:

H'om= Goldie Dickev <eoidis@in£tmhmlmm.ner>

Date: November 8, 2010 11:14: 17 AM PST

To: "aj@ajbassociates.com" <aj@ajba§soclates.com>, 'Bruce Hag|r.md‘ <bhaglgg@ghg-
iaw.com>, 'Bruoe Haglund' <bhag|Mwhg|aw.oom>

Cc: 'jay ber-rones’ deem alliamgmail.com>, "_r&dg@gg_qobamorp.net"
<codzgeimetmbaru;oi'g.net>

Subject: Please relay this email to GREEN EERGV GAP'II'AL

 

SE'nt we Bnail ( /dnal'y relay tv G'een Energy Capftal)

Dear Green Energy Capital:

We Metropolitan Bancorp LTD, an b'\stimtiona| Representative of Estrategia Inv<=,-stamentos S.A.
conlirm the MT199 that was sent to Magyarorszagi Volksbank ZRT and was relayed through
Centum Bank. A copy ofthe transmission was provided u:) you. lf there is an issue related to
locating the swift l~‘lT 199 please have the receiving parties Banlcer email me. It is standard
practice that we do not receive any message back from a relaying bank unless there is an issue
such as the bank's unwillingness or inability to relay the swift 110 Vol|cs bank or Volle Bank not
accepting the swilt_

For your COnvenience, please see all my contact lnformatim(s) below. Thank you.

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Sincerely:

 

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Metropolitan Bancorp Ltd,
level 20, A SB Bank Centr¢?
135 Albert .S'treel'
A uckiam:§. AEW Ze'a£and 1010

Phol?e.' +649 359 744.9 Hax.' + 649 359 7459

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Ger/'form'a annch:

2150 H'adezane B!vd. Suite 103
5.an lese, Galifarm?a 95131

Q?Ic‘e 408-748-18.3.2

E"ax 403-904-7595

Made 951-990~.9509

Ukiahohn B'ranc'h:
502 MVSfrer&z'an Road Sul!e 614

Lawton, Ollr£ahama 73505 _
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DISGAIMER:This e-mai and any attachments are conndential. They may conta'n privileged ~
hformatlon and are htended for the named addressee(s) only. Unies$ expressly stated, opinions fn
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recipient, please cat or e~maei the sender and delete this message and any attachments lmmedlately.

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Appendix C

- i'-':":.=r'-'. Ato Sacl¢:y (otnsockc!y@hotmai|.c:om)
` s.:.»i~..:; sat 11/06;10 4:01AM
"i'=_;-.~ TERRY HESTER (berlyhesberl@gmai|.com)
'.'.`-_';; ALEXAhDER MA'l'l'l-EWS (alexandermatdiewsB?@hotmai|.com)

. Terry,
. The world of finance does not work like that. The onbus is on you to prove that

a swift was sent. Therefore you MUST get a coipy of the forwarded swift from

j Centrum bank or Estrategia. No-one, least of all Phililp is going to waste their
time and risk exposure by calling other banks with whom he has no relationship.
You MUST get a copy of the Centrum swift, period.

' Regards,
Ato

 

Date: Fri, 5 Nov 2010 14:56:00 -0500
Subject:

' From: berryhesterl@gmail.oom

' To: atosackey@hohnail.corn

' CC: alexandermatmewsu'l@hoonail.com

n Dear Ato:

_ The swift was sent ihm Centrum Bank Zurich tn Volksbank itwas delivered and ooniirmed If Phiiip wants
to speak m the banker at
Estrategia to confirm the swift call him at + 552192452598 DIRECT or email him at a hank oertilied e mail at

' SINDl-FJ @ ESTRATEGIA

~ LNM§TIMENTOS.COM. If Philip wants anything else let him cali or entail and the banker will accomodate.

z Bottom Line we are b'red of all the bull we want the instruments delivered to Merrill Lynch immediahsly.
Sinoerely,

Terry Hester Presiderlt
Green Energy Capiial Corp.

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FOR ESTRATEGIA lNVES'|`lMENTOS SA.

ALEXANDRD MARCEL FHELUPE BBM MARRAN
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